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/s/   Aaron D. Neal
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                                      Certificate of Service

       I hereby certify that on this 8th day of June, 2015, copies of the foregoing paper were filed

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